       Case 3:23-cv-02880-JSC Document 307-1 Filed 07/12/23 Page 1 of 3




                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 Northern District of California

U.S. District Court case number: 3:23-cv-02880-JSC

Date case was first filed in U.S. District Court: 06/12/2023

Date of judgment or order you are appealing:                       07/10/2023
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Federal Trade Commission




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
600 Pennsylvania Avenue NW



City: Washington                              State: DC               Zip Code: 20580

Prisoner Inmate or A Number (if applicable):

Signature       /s/ James H. Weingarten                                 Date Jul 12, 2023
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
       Case 3:23-cv-02880-JSC Document 307-1 Filed 07/12/23 Page 2 of 3




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Federal Trade Commission


Name(s) of counsel (if any):
Imad Dean Abyad



Address: 600 Pennsylvania Avenue NW, Washington, DC 20580
Telephone number(s): 202-326-3579
Email(s): iabyad@ftc.gov
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Microsoft Corporation


Name(s) of counsel (if any):
Beth A. Wilkinson, Rakesh N. Kilaru
WILKINSON STEKLOFF LLP


Address: 2001 M Street NW, 10th Floor, Washington, DC 20036
Telephone number(s): 202-847-4000
Email(s): bwilkinson@wilkinsonstekloff.com; rkilaru@wilkinsonstekloff.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        Rev. 12/01/2018
       Case 3:23-cv-02880-JSC Document 307-1 Filed 07/12/23 Page 3 of 3




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes      No
Appellees
Name(s) of party/parties:
Activision Blizzard, Inc.

Name(s) of counsel (if any):
Steven C. Sunshine, Julia K. York
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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Email(s): steven.sunshine@skadden.com; julia.york@skadden.com
Name(s) of party/parties:
Microsoft Corporation

Name(s) of counsel (if any):
Michael Moiseyev; Megan A. Granger
WEIL, GOTSHAL & MANGES LLP
Address: 2001 M Street NW, Ste. 600, Washington, DC 20036
Telephone number(s): 202-682-7000
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                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                          Rev. 12/01/2018
